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PLAINTIFFS’ LIST OF EXHIBITS

Plaintiffs’ Response to Motion for Summary Judgment by Park County Defendants
United States District Court, District of Colorado, Case No. 07-cv-0071-RPM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Response Opening Brief
Exhibit No. | Description Exhibit No.
1 Park County Sheriff's Office Policy and Procedures Manual, A-6
Policy 303
2 Vicki Caldwell’s Appointment and Oath of. Office as of A-]
December 22, 2003
3: Webber Park Investigation/Brief Synopsis, dated 10/04/05 A-10
4 Witness /Victim List of the Webber Park Investigation A-11
5 Potential Charges Webber Park Investigation List ~
6 Short History on Primary Involved Suspects _.
7 Webber Park Field Notes
8 Schematic drawing showing which informant had tied which
suspect to what crime(s)
9 Plaintiffs’ Expert Witness Disclosure Re: ‘Richard Reisler
10 Memorandum from Detective Cpl. Greg Flint, to Mr.
| Bradley/Agent in Charge Regarding Webber Park Investigation,
dated October 5, 2005
11 Memorandum from Detective Cpl. Greg Flint, to District
Attorney Chilson, dated August 10, 2005
12 Memorandum from Detective Cpl. Greg Flint, to Molly Chilson
Regarding Webber Park Investigation, dated October 6, 2005
13 Colorado Bureau of Investigation, Report ¢ of Investigation, dated
February 2, 2006 :
14 Affidavit of Don_Anthony wo
15 Memorandum from Corporal Bobbi Priestly, dated February 20,
2008
16 Memorandum from Captain Monte Gore to Vickie Caldwell A-15
, Regarding Administrative Leave, dated November 17, 2005
17 Memorandum from Deputy Yoshi Goto to Undersheriff Gore,
regarding Vickie Caldwell’s Desktop Computer dated February
22, 2008
cod Bocce) Park, County. Sheriff’s ..Office.. Policy. and Procedures Manual,
one l-Poliey 320 (V\(E\(1) — cetera cet fences
19 Written Reprimand to Vickie Caldwell from Captain Monte Gore, A-18
dated November 22, 2005
20 Resignation Memorandum from Vicki Caldwell, dated December A-3
1, 2005
21 Chuck Caldweil’s Application for Employment and Personal A-7
SOL Statement Re: Park County: Sheriffs s (Office, dated April

 

 

 

 

 

 

 
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PLAINTIFFS? LIST OF EXHIBITS ©

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United States District Court, District of Colorado, Case No. 07-cv-0071-RPM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Response Opening Brief
Exhibit No. | Description Exhibit No.
22 Letter of Recommendation Re: Chuck Caldwell from Jeff Tucker,
Chief of Police, Forest Park, OK
23 Charles Caldwell’s Appointment and Oath of Office as of April A-5
27, 2005
24 Memorandum from Captain Monte Gore to Case Manager Chuck A-14
Caldwell Regarding Criminal Investigation, dated October 14,
2005
25 Park County Sheriff's Office Policy and Procedures Manual,
Policy 319 TV\(F)C)
26 Park County. Sheriff. . Office, Notification .. of Internal A-14
.| Investigations, Internal Affairs Case No. 2006- TA- 002, to. Chuck
. .| Caldwell, dated January 17, 2006
27 Memorandum from Sgt. Muldoon to Undersheriff Gore
oo Regarding Chuck Caldwell, dated December 8, 2005 °
28. | | Park County Sheriff Office, Final Disposition of Case, Internal
| Affairs ,Case No. 2006-IA-002, to, ‘Chuck: Caldwell, dated
February 22, 2006 a , a
29 Termination letter from Sheriff Fred Wegener | to Charles A-19
Caldwell, dated February 22, 2006
30A Letter to Sheriff Fred Wegener from Charles Caldwell Regarding A-22
Request for Documentation, dated March 7, 2006,
30B —_| Letter to Sheriff Fred Wegener from Charles Caldwell Regarding A-24
Request for Documentation, dated April 5, 2006
30C Letter to Park County Sheriff's Office from Charles and Vicki A-25
Caldwell Regarding Request for Documentation, dated April 26,
2006.
30D © Letterto Charles & Vicki Caldwell from: Stephen A ‘Groome, A-26
| County: Attorney, Regarding Response to. Open: Records Request,
_ | dated May 15, 2006
_ 30E” Letter to Park County Sheriff's Office from Charles and Vicki
Caldwell Regarding Request ‘or Documentation, dated une 21, | oe
2006
31 Copy of Charles Caldwell’s’ Police Tavestigator badge from
Forest Park, OK
32 Copy of Charles Caldwell’s Commission as-a Police Officer for
: the Town of Forest Park, OK
33 The Flume, Letter to the Editor, by Don Anthony, Former A-20
Undersheriff, dated January 13, 2006
34 Affidavit of Charles Caldwell
35 | Affidavit of Vicki Caldwell

 

 
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PLAINTIFFS’ LIST OF EXHIBITS
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Response Opening Brief
Exhibit No. | Description Exhibit No.
36 Park County Sheriff’s Office Policy and Procedures Manual,
Policy 727

 

Excerpts from Transcript of Deposition of Vicki Caldwell
Excerpts from Transcript of Deposition of Charles Caldwell
Excerpts from Transcript of Deposition of Jeff Tucker Caldwell
Excerpts from Transcript of Deposition of Don Anthony
Excerpts from Transcript of Deposition of Gregory S. Flint
Excerpts from Transcript of Deposition of Monte Gore

 

 

 

 

 

 

 

 

 

 

 

 

 

 
